                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: MDM HOLDINGS, INC.                           )       Case No.: 19-82531-CRJ-11
                                                     )
        EIN: xx-xxx3287                              )
                                                     )
                Debtor.                              )       CHAPTER 11
                                                     )

                             MOTION FOR APPROVAL OF
                        DEBTOR’S ASSUMPTION OF UNEXPIRED
                     LEASE OF NON-RESIDENTIAL REAL PROPERTY

        COMES NOW MDM Holdings, Inc. (the “Debtor”), and shows unto this Honorable
 Court the following:
                                             Background

        1.      On August 22, 2019 (the “Petition Date”), the Debtor commenced with this Court
 a voluntary case under Chapter 11 of Title 11, United States Code.

        2.      This Court has subject matter jurisdiction to consider and determine this motion
 pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venu e
 is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The Debtor is a corporation organized under the laws of Alabama and doing
 business in Madison and Morgan Counties, Alabama.

        4.      Prior to the Petition Date, the Debtor entered into an office lease agreement from
 which it conducts its business operations (the “Lease”). A true and correct copy of the Lease
 agreement is attached hereto as Exhibit “A.”

        5.      The Debtor is not in default under the terms of the Lease.

        6.      Assumption of the Lease is necessary for the Debtor’s continued operations and
 its successful Chapter 11 reorganization.

        7.      Assumption of the Lease subject to the terms contained therein is in the best
 interest of the Debtor and its bankruptcy estate.




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        WHEREFORE, PREMISES CONSIDERED, the Debtor requests the Bankruptcy Court
 to enter an order:

        A.      Approving the Debtor’s assumption of the Lease;

        B.      Authorizing the Debtor to execute and deliver any and all other documents which
                may be necessary or appropriate to effectuate the assumption of the lease
                described herein; and

        C.      Granting such further and different relief as the Bankruptcy Court may deem just
                and appropriate.

        Respectfully submitted this the 30th day of August, 2019.

                                            /s/ Tazewell T. Shepard IV
                                            Tazewell T. Shepard III
                                            Tazewell T. Shepard IV
                                            Attorneys for the Debtor

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                                   CERTIFICATE OF SERVICE

        This is to certify that this the 30th day of August, 2019, I have this day served the
 foregoing motion on Phil Hall, P.O. Box 5858, Decatur, AL 35601, all parties requesting notice,
 all parties listed on the Clerk’s Certified Matrix and Richard Blythe, Office of the Bankruptcy
 Administrator, by electronic service through the Court’s CM/ECF system and/or by placing a
 copy of same in the United States Mail, postage pre-paid.

                                            /s/ Tazewell T. Shepard IV
                                            Tazewell T. Shepard IV




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